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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

 KERRY CHRISTINE JOHNSTON,                         §
                                                   §
      Plaintiff,                                   §
                                                   §
 v.                                                §
                                                   §
 U.S. BANK TRUST NATIONAL                          §         Civil Action No. 3:22-cv-000286
 ASSOCIATION, NOT IN ITS                           §
 INDIVIDUAL CAPACITY BUT SOLELY                    §
 AS OWNER TRUSTEE FOR VRMTG                        §
 ASSET TRUST,                                      §
                                                   §
         Defendant.                                §

         DEFENDANT U.S. BANK N.A., AS TRUSTEE’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. Section 1446(a), Defendant U.S. Bank Trust National Association,

not in its Individual Capacity but Solely as Owner Trustee for VRMTG Asset Trust (“U.S. Bank”

or “Defendant”) files this notice of the removal of this action from the 10th Judicial District Court

of Galveston County, Texas. Defendant respectfully shows as follows:

                                           SUMMARY

       1.      On or about June 13, 2022, Plaintiff Kerry Christine Johnston (“Johnston” or

“Plaintiff”) filed her Original Petition and Request for Disclosures (the “Petition”) bearing Cause

No. 22-DCV-1057 in the 10th Judicial District Court of Galveston County, Texas, in the matter

styled Kerry Christine Johnston v. U.S. Bank Trust National Association, not in its Individual

Capacity but Solely as Owner Trustee for VRMTG Asset Trust. (the “State Court Action”).

       2.      The allegations in the Petition relate to foreclosure proceedings on Plaintiffs’ real

property and improvements located at 2214 Mission Street, Kemah, Texas 77565 (the




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“Property”).1 (See Petition at ¶ 7.) In the Petition, Plaintiff alleges that Defendant wrongfully

foreclosed on her home without providing her any type of notice. (See Petition at ¶ 13.) Plaintiff

asserted claims against Defendant U.S. Bank for wrongful foreclosure, breach of contract, and

declaratory judgment that the foreclosure sale was wrongful because Defendant violated the notice

sale and notice default statute (See Petition at ¶¶ 15-42). Plaintiff also seeks actual and exemplary

damages, attorneys’ fees, cost of court, and pre-judgment and post-judgment interest. (See id. at

Prayer.)

        3.       The citation issued for Plaintiff’s Original Petition was issued on June 14, 2022.

(See Exhibits B, B-2) The citation did not properly identify Defendant in their capacity as trustee.

but instead identified them only as “U.S. Bank Trust National Association”. (See id.) On July 25,

2022, Plaintiff filed a motion for default judgment against Defendant based on Defendant’s failure

to answer. (See Exhibits B, B-3) On July 28, 2022, the Court entered a Final Default Judgment

setting aside the foreclosure sale. (See Exhibits B, B-4)

        4.       A true and correct copy of the Docket Sheet from the State Court Action is attached

hereto as Exhibit A. In accordance with 28 U.S.C. Section 1446(a), copies of all process,

pleadings, and orders served in the State Court Action, including the Petition, are attached hereto

within the contents of Exhibit B.

        5.       This Notice of Removal is timely because thirty (30) days have not expired since

Defendant appeared in this action, making removal proper in accordance with 28 U.S.C. Section

1446(b).

        6.       This action is removable to federal court pursuant to 28 U.S.C. Section 1441

because it could have been filed originally in this Court pursuant diversity jurisdiction conferred


1
 The Galveston Country Central Appraisal District has the property address listed as 2214 Mission St. League City,
Texas, 77565.

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by 28 U.S.C. Section 1332.

                   BASIS FOR REMOVAL – DIVERSITY JURISDICTION
       A.       There is diversity between the parties.

       7.       Removal of the State Court Action to this Court is proper pursuant to 28 U.S.C.

Sections 1332, 1441(a) and (b) because there is complete diversity between the parties and the

amount in controversy is well in excess of $75,000.00 exclusive of interest and costs.

       8.       Plaintiff is an individual and citizen of the state of Texas. (See Petition ¶ 3).

       9.       U.S. Bank is the trustee of a trust. If a trustee possesses “customary powers to hold,

manage, and dispose of assets,” then it is the real party in interest to a suit. Navarro Sav. Assoc. v.

Lee, 446 U.S. 458, 464 (1980); see U.S. Bank N.A. v. Nesbitt Bellevue Prop. LLC, 859 F. Supp. 2d

602, 606 (S.D.N.Y. 2012). When a trustee is the real party in interest, its citizenship—not the

citizenship of the beneficiaries of the trust—controls for purposes of diversity jurisdiction.

Navarro, 446 U.S. at 464–66. A national banking association is considered a citizen of the state in

which it is located. 28 U.S.C. § 1348. Its location is determined by the state of its main office, as

established in the bank’s articles of association. Wachovia Bank, NA v. Schmidt, 546 U.S. 303, 318

(2006). U.S. Bank’s main office is in Delaware. Therefore, U.S. Bank is a citizen of Delaware for

diversity purposes.

       C.       The amount in controversy exceeds $75,000.00.

       10.      When declaratory or injunctive relief is sought, the amount in controversy is

measured by the value of the object of the litigation, and the value of that right is measured by the

losses that will follow. Webb v. Investacorp, Inc. 89 F.3d 252, 256 (5th Cir. 1996). Stated

differently, “the amount in controversy, in an action for declaratory and injunctive relief, is the

value of the right to be protected or the extent of the injury to be prevented.” Leininger v. Leininger,



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705 F.2d 727, 729 (5th Cir. 1983); see also Lamarr v. Chase Home Finance, LLC, 2008 WL

4057301 (N.D. Miss. 2008) (finding amount in controversy requirement was satisfied where

plaintiff sought to set aside foreclosure sale and home appraised for $83,000.00, plus unspecified

amount of monetary damages); Bank of America National Trust and Sav. Assoc. v. Reeves, 1995

WL 96617, *1 (E.D. La. 1995) (court held that the amount in controversy was met in action seeking

to enjoin foreclosure on property because the suit “puts at issue the entire value of the property on

which they attempt to enjoin defendants from foreclosing.”).

       11.     “Reasonable bases for valuing properties include ‘purchase price, market value, or

outstanding principal and interest.’” McPherson v. Bank of Am., N.A., No. H-16-3498, 2016 U.S.

Dist. LEXIS 180115, at *6 (S.D. Tex. Dec. 30, 2016) (citations omitted).

       12.     Plaintiff seeks possession of the Property. (See Petition at Prayer). Therefore,

through her request for a declaratory judgment, he has put an amount in controversy equal to the

value of the Property. The Galveston County Central Appraisal District’s most recent valuation of

the Property shows a total assessed value of the Property at $554,202. (See Exhibits C, C-1). For

this reason alone, the amount in controversy exceeds $75,000.00.

                                                 VENUE

       13.     Venue for removal is proper in this district and division, the United States District

Court for the Southern District of Texas, Galveston Division, under 28 U.S.C. Section 1441(a)

because this district and division embrace the 10th District Court, Galveston County, Texas, the

forum in which the removed action was pending.

                                              NOTICE

       14.     Pursuant to 28 U.S.C. Section 1446(d), a copy of this Notice is being filed with the

Clerk of the Court for the 10th District Court, Galveston County, Texas.



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       15.     The contents of Exhibit B constitute the entire file of the State Court Action.

                                          CONCLUSION

       For the reasons described above, Defendant respectfully requests this Court take

jurisdiction over this matter and proceed as if it had been originally filed herein.

                                                      Respectfully submitted,

                                                    By: /s/ Mark D. Cronenwett
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                                                      Southern District Bar No. 21340
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                                                   ATTORNEYS FOR DEFENDANT U.S.
                                                   BANK TRUST NATIONAL ASSOCIATION,
                                                   NOT IN ITS INDIVIDUAL CAPACITY BUT
                                                   SOLELY AS TRUSTEE FOR VRMTG
                                                   ASSET TRUST




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                                 List of all Counsel of Record

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                        INDEX OF DOCUMENTS ATTACHED

Exhibit A   Copy of the Docket Sheet for Cause No. 22-DCV-1057 in the 10th District Court,
            Galveston County, Texas;

Exhibit B   Pleadings in Cause No. 22-DCV-1057 in the 10th District Court, Galveston County,
            Texas;

      B-1   Original Petition and Request for Disclosures, June 13, 2022;

      B-2   Issued Citation for Defendant U.S. Bank Trust National Association, not in its
            Individual Capacity but Solely as Owner Trustee for VRMTG Asset Trust, June 14,
            2022;

      B-3   Plaintiff’s Motion for Default Judgment, July 25, 2022;

      B-4   Final Default Judgment, July 28, 2022;

      B-5   Defendant U.S. Bank N.A., as Trustee’s Original Answer, August 10, 2022;

Exhibit C   Declaration of Mark D. Cronenwett; and

      C-1   Print out from the Galveston County, Central Appraisal District web-site, August
            10, 2022.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 11, 2022, a true and correct copy of the foregoing was served
in the manner described below on the following:

           Via Regular United States Mail
           Sheroo Bhagia
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                                                   /s/ Mark D. Cronenwett
                                                   MARK D. CRONENWETT




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